                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


JENNIFER REED and                               )
JOSE LUIS GARCIA TALENTINO                      )
                                                )
         Plaintiffs,                            )               Civil Action No. 3:18-0819
                                                )
                                                )               Judge Richardson/Frensley
    v.                                          )
                                                )
                                                )
YOUNG HO KIM and UN JUNG KIM                    )
                                                )
         Defendants.                            )

                        PLAINTIFFS’ REPLY IN SUPPORT OF
                   MOTION TO ENFORCE SETTLEMENT AGREEMENT

         Plaintiffs Jennifer Reed and Jose Luis Garcia Talentino (collectively “Plaintiffs”) ask this

Court to grant the alternative prayer for relief in their Memorandum of Law in Support of Motion

to Enforce Settlement (“Motion”) and to enter judgment against Defendants Young Ho Kim and

Un Jung Kim (collectively “Defendants”). [See Doc. 36.]

         As the first exhibit to the Motion—the validity of which Defendants acknowledge,

[Doc. 39, at 1]—makes clear, the offer Defendants made, and which Plaintiffs accepted, was for

$11,000.00 in exchange for a release of claims, [Doc. 36-1]. Defendants did not include a

confidentiality provision in their offer, and a confidentiality provision is therefore not a part of the

contract formed by Plaintiffs’ acceptance.

         Further, Defendants misconstrue Plaintiffs’ position on the terms of the settlement.

Plaintiffs are not saying that they would refuse to execute the Joint Release and Settlement

Agreement (“Agreement”) as written; if the choice were between executing the Agreement as

provided to the Court, [Doc. 36-3], or continuing the litigation, Plaintiffs would opt for the




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Agreement.     As explained below, Plaintiffs object to one term in the Agreement being

unenforceable as against public policy, but because the Agreement itself contains a severability

clause, Plaintiffs’ rejection of this term does not render the rest of the Agreement a nullity.

[Id. at 3.]

        Plaintiffs’ true position follows.   First, as noted above, the parties did not discuss

confidentiality prior to agreeing to settle this matter.      Defendant’s counsel included the

confidentiality provision as an additional term when he drafted the Agreement.            Second,

Defendants’ unsupported claim that “[c]onfidentiality is a material term of any settlement

agreement” is an inaccurate description of all settlements and particularly so of settlements under

the FLSA. [Doc. 39, at 2.] Confidentiality provisions do often appear in settlement agreements—

although not, as noted below, in FLSA settlement agreements—but they are negotiated terms and

not automatically included in any settlement. Finally, Plaintiffs doubt whether the confidentiality

provision in the Agreement is permissible as a matter of law. “Although the Sixth Circuit has not

yet weighed in on this issue, the overwhelming majority of trial courts to consider whether to

approve confidential settlements in FLSA cases have held that there is a strong presumption in

favor of public access to settlement agreements in these cases.” Zego v. Meridian-Henderson,

No. 2:15-CV-3098, 2016 U.S. Dist. LEXIS 113048, at *3 (S.D. Ohio Aug. 24, 2016); see also

Fairfax v. Hogan Trans. Equip., Inc., No. 2:16-cv-680, 2019 U.S. Dist. LEXIS 18852, at *5 (S.D.

Ohio Feb. 6, 2019) (requiring “an extraordinary reason to justify filing the [s]ettlement

[d]ocuments under seal”). In fact, this Court recently refused to approve a settlement that

contained a much narrower confidentiality provision than the one in the Agreement. See Fenwick

v. The Row, Inc., No. 3:18-cv-459, Doc. 41, at 1 (M.D. Tenn. Apr. 4, 2019).




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       Considering their counsel’s attempts to withdraw and their opposition to the Motion,

Defendants clearly have no intention of honoring the Agreement. [Docs. 31, 38–39.] Because

Defendants’ good-faith participation in the settlement is no longer a serious possibility, Plaintiffs

ask this Court to grant their alternative prayer for a judgment against Defendants jointly and

severally in the amount of $11,000.00, plus attorney fees and costs associated with collection.

[Doc. 36, at 3.] The Sixth Circuit has held that entry of judgment by the District Court is

permissible when one party refuses to execute a final copy of a previously agreed settlement. See

Bamerilease Capital Corp. v. Nearburg, 958 F.2d 150, 151, 153 (6th Cir. 1992).


Dated: August 30, 2019                                Respectfully submitted,

                                                      /s/ Charles P. Yezbak, III
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2019, I filed the foregoing document via the Court’s

electronic filing system, which will automatically send electronic notice of such filing on the

following counsel of record for Defendants:

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                                                   /s/ Charles P. Yezbak, III
                                                   Charles P. Yezbak, III




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